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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA

UNITED FOOD AND              Case No. 0:19-cv-02660-JNE-TNL
COMMERCIAL WORKERS UNION,
LOCAL No. 663; UNITED FOOD
AND COMMERCIAL WORKERS
UNION, LOCAL No. 440; UNITED
FOOD AND COMMERCIAL
WORKERS UNION, LOCAL No. 2;
and UNITED FOOD AND
COMMERCIAL WORKERS UNION,
AFL-CIO, CLC,

                            Plaintiffs,

       v.

UNITED STATES DEPARTMENT
OF AGRICULTURE,

                            Defendant.


  DECLARATION OF ADAM R. PULVER IN SUPPORT OF PLAINTIFFS’
 OPPOSITION TO MOTION TO STAY AND FOR VOLUNTARY REMAND

      I, Adam R. Pulver, declare as follows:
      1.    I am counsel for Plaintiffs in the above-captioned matter.

      2.    Attached as Exhibit 1 is a true and correct copy of email

correspondence between myself and Defendant’s counsel in this matter.

      3.    On April 8, 2020, I received an email from Defendant’s counsel, asking

whether Plaintiffs would consent to a four-week extension of Defendant’s

deadline to answer the complaint in this matter. Ex. 1 at 5.
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      4.     That same day, I informed Defendant’s counsel that Plaintiffs’ “hoped

to move quickly, and agree to a schedule for production of the administrative

record and cross-motions for summary judgment,” given that “my clients’

members are at risk of bodily injury while the rule [at issue in this case] [is] in

effect.” Exh. 1 at 3. I informed Defendant’s counsel that Plaintiffs would consent

to providing “extra time to answer,” conditioned on an agreement for “a proposed

schedule for production of the administrative record and summary judgment at

the same time.” Id. at 4

      5.     Defendant’s counsel refused to discuss said briefing schedule at the

time, saying “All I want to know right now is whether Plaintiffs will stipulate to

extend the answer deadline until 4/29.” Ex. 1 at 3.

      6.     Despite my concern as to the impact on my clients, I consented to the

request as a matter of professional courtesy.

      7.     On April 27, 2020, I sent an email to Defendant’s counsel seeking to

follow up on his representation that he “would discuss with [his] client a potential

stipulated schedule for the production of the administrative record and summary

judgment briefing schedule.” Ex. 1 at 2–3.

      8.     In the evening of April 28, 2020, Defendant’s counsel informed me

that “the agency is facing a number of challenges related to the COVID-19
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pandemic and is not yet in a position to stipulate to a schedule for the production

of the administrative record or summary-judgment briefing.” Ex. 1 at 2.

        9.    That same evening, I reiterated my concerns to Defendant’s counsel

about the harms to my clients, referencing the adoption of NSIS by the Seaboard

Foods plant in Guymon, Oklahoma, and indicating my belief that expeditious

summary judgment briefing would be more efficient than preliminary injunction

briefing, followed by summary judgment briefing. Ex. 1 at 1.

        10.   Two days later, on May 1, 2020, Defendant’s counsel informed me the

agency intended to file a motion for voluntary remand and ask for a stay of

proceedings in this action. He also informed me that “the COVID-19 pandemic”

meant that USDA could not produce the administrative record until June 30. Ex. 1

at 1.

        11.   I informed Defendant’s counsel that Plaintiffs would file a motion

seeking leave to take limited discovery as to the status of the New Swine

Inspection System (NSIS) in connection with Defendant’s motion for voluntary

remand. Defendant’s counsel indicated Defendant would oppose that motion, and

that discovery would be “wholly inappropriate.” In an effort to avoid further

disputes, Defendant agreed to stipulate that the Guymon plant had converted to

NSIS. See Stipulation (ECF 38) at ¶ 6.
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      12.   Attached as Exhibit 2 is a true and correct copy of an order issued in

the matter of Minnesota Center for Environmental Advocacy v. EPA, Civil No. 03-5450

(DWF/SRN) (D. Minn. May 6, 2005), which I downloaded from the Court’s

PACER system.

      13.   Attached as Exhibit 3 is a true and correct copy of an order issued by

the U.S. District Court for the District of Columbia in the matter of Organic Trade

Association v. United States Department of Agriculture, Civil No. 17-1875 (RMC)

(D.D.C. Mar. 12, 2020), which I downloaded from that court’s PACER system.

      14.   Attached as Exhibit 4 is a true and correct copy of the Defendants’

Motion to Stay Summary Judgment Proceedings and for Voluntary Remand or, in

the Alternative, for an Extension of Time, filed in Organic Trade Association on

January 3, 2020, which I downloaded from the U.S. District Court for the District

of Columbia’s PACER system.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed this 5th day of June, 2020

                                      /s/ Adam R. Pulver
                                      Adam R. Pulver
